     Case 2:20-cv-08365-CBM-PD Document 33 Filed 08/30/21 Page 1 of 1 Page ID #:102




1
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
2

3

4
       TERRY FABRICANT,                             )   Case No.
5      individually                                 )
6      And on behalf of all others                  )
                                                    )   2:20-cv-08365-CBM-PD x
       similarly situated,
7                                                   )
       Plaintiff,                                   )
8
       v.                                           )   ORDER TO DISMISS WITH
9      FUNDING MERCHANT                             )   PREJUDICE AS TO PLAINTIFF
10     SOURCE                                       )   AND WITHOUT PREJUDICE AS
       LLC, and DOES 1 through 10,                  )   TO CLASS CLAIMS. [JS-6]
11
       inclusive                                    )
12                                                  )
       Defendants.
13                                                  )
14

15
            IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,

16
      this matter is dismissed in its entirety with prejudice as to the named Plaintiff, and

17
      without prejudice as to the Putative Class alleged in the complaint, pursuant to

18
      Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own

19
      costs and attorneys’ fees.
                                                 Date: AUGUST 30, 2021
20

21

22

23                                               _______________________________
24
                                                  Hon. CONSUELO B. MARSHALL
                                                  UNITED STATES DISTRICT JUDGE
25

26

27

28




                                      Order to Dismiss - 1
